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February 15, 2021

By ECF and E-mail
The Honorable Richard M. Berman
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Richard Gaffey, 18-cr-693 (RMB)

Dear Judge Berman:

        We write to advise the Court that another FMC Devens prisoner, previously deemed
“recovered” from COVID-19, has now died. See attached BOP press release (Feb. 11, 2021).
Like Mr. Gaffey, the deceased prisoner (although more than a decade younger), had “long-term,
pre-existing medical conditions which the CDC lists as risk factors for developing more severe
COVD-19 disease.” Id. This event, along with other post-“recovery” deaths noted in Mr.
Gaffey’s earlier filings, highlights the substantial ongoing risk to “recovered” prisoners and the
limitations of BOP’s ability to monitor and care for them effectively in a carceral setting.

                                             Respectfully submitted,

                                             RICHARD GAFFEY

                                             by his attorneys,

                                             /s/ Daniel Marx
                                             Daniel N. Marx
                                             William W. Fick (pro hac vice forthcoming)
                                             Amy Barsky (pro hac vice forthcoming)
                                             FICK & MARX LLP
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cc (by email):
        Chambers
        AUSA Eun Young Choi
        AUSA Thane Rehn
        AUSA Michael Parker
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                                                           U.S. Department of Justice
                                                           Federal Bureau of Prisons


 FOR IMMEDIATE RELEASE                                      Contact: Office of Public Affairs
 February 11, 2021                                          202-514-6551


                                Inmate Death at FMC Devens

WASHINGTON, D.C.: On Saturday, December 26, 2020, inmate Girard Lafortune tested
positive for COVID-19 at the Federal Medical Center (FMC) Devens in Ayer, Massachusetts, and
was immediately placed in medical isolation. On Monday, January 18, 2021, in accordance with
Centers for Disease Control and Prevention (CDC) guidelines, Mr. Lafortune was converted to a
status of recovered following the completion of medical isolation and presenting with no
symptoms. On Wednesday, February 10, 2021, Mr. Lafortune, who had long-term, pre-existing
medical conditions which the CDC lists as risk factors for developing more severe COVID-19
disease, was pronounced deceased.

Mr. Lafortune was a 63-year-old male who was sentenced in the District of Massachusetts to a
420-month sentence for Transportation & Attempted Transportation of Child Pornography,
Receipt of Child Pornography, Possession of Child Pornography, and Publishing Notice or
Advertisement for Child Pornography. He had been in custody at FMC Devens since
May 7, 2015.

FMC Devens is an administrative security facility that currently houses 718 male offenders.

The Bureau of Prisons will continue to provide daily updates and information on actions related
to COVID-19 at www.bop.gov/coronavirus/index.jsp.

Additional information about the Bureau of Prisons can be found at www.bop.gov.

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